
PER CURIAM.
Lisa Gail Mullís appeals her convictions and sentences for attempted second-degree murder, kidnapping, robbery with a deadly weapon, carjacking, and second-degree arson. Fundamental error in the conviction for attempted second-degree murder occurred when the court instructed the jury that an element of the lesser-included offense of attempted manslaughter by act is the commission of “an act which was intended to cause the death of’ the victim. Williams v. State, 128 So.3d 23 (Fla.2013). Consequently, we reverse the conviction and sentence for attempted second-degree murder and remand for a new trial on that count. We otherwise affirm.
*170AFFIRMED in part; REVERSED in part; and REMANDED.
THOMAS, RAY, and OSTERHAUS, JJ., concur.
